Case 1:12-cr-00207-JTN          ECF No. 119, PageID.346             Filed 12/07/12     Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:12-CR-207
v.
                                                      Hon. Janet T. Neff
LANCE JAMES FORSBERG,

               Defendant.
                                              /

                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on December 7, 2012, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant Lance James Forsberg is charged in Counts 1, 7 and 10 of a multi-count

Indictment with conspiracy to manufacture 100 or more marijuana plants, manufacture of 100 or

more marijuana plants within 1,000 feet of a school, and manufacture of 100 or more marijuana

plants. On the basis of the record made at the hearing, I found that defendant was competent to enter

pleas of guilty and that the pleas were knowledgeable and voluntary with a full understanding of

each of the rights waived by the defendant, that the defendant fully understood the nature of the

charges and the consequences of the pleas, and that the defendant's pleas had a sufficient basis in

fact which contained all of the elements of the offenses charged.




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Case 1:12-cr-00207-JTN          ECF No. 119, PageID.347            Filed 12/07/12      Page 2 of 2




               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the

parties.

               Accordingly, I accepted the pleas of guilty, subject to final acceptance of the pleas

by the District Judge, and I specifically reserved acceptance of the plea agreement for the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to Counts 1, 7 and 10 of the Indictment be accepted, that the court adjudicate the defendant

guilty of those charges, and that the written plea agreement be accepted at, or before, the time of

sentencing.



Dated: December 7, 2012                               /s/ Hugh W. Brenneman, Jr.
                                                      HUGH W. BRENNEMAN, JR.
                                                      United States Magistrate Judge




                                     NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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